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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

JOHN MARTINEZ,                                        )

                Plaintiff,                                    Case No. 23-cv-1741

                v.                                            Hon. Georgia N. Alexakis

REYNALDO       GUEVARA, et. al.,

                Defendants.

                 SETTLEMENT                 AGREEMENT        AND GENERAL RELEASE

        This Settlement Agreement and General Release (the “Agreement”) is made between

John Martinez (“Plaintiff”) and Cook County (“Cook County”).

   1.   Plaintiff and Cook County are referred to as the “Parties” in this Agreement.

  2.    The   Parties hereby        agree    to settle and   compromise    the above-entitled      action, John

        Martinez v. Reynaldo Guevara, et al., in the United States District Court for the Northern

        District of Illinois, Eastern Division (the “Lawsuit”), under the terms and conditions set

        forth herein.

        Plaintiff accepts     the     sum    identified   in paragraph    4, below,   in full     and    complete
  1s)




        satisfaction of all claims that have been brought, or may or may not be brought, against

        Cook County and Jake Rubinstein (collectively, the “County Defendants”) under any

        legal theory, including any potential claims, in this Lawsuit, as outlined further below.

        Payment by the County Defendants

                4.]      In consideration        of this Agreement,      the County   Defendants        will pay

                         Plaintiff and his attorneys, Loevy         & Loevy,    $3,100,000      (three million,

                         one-hundred thousand dollars) (“Settlement Amount’).
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          4.2    The Settlement Amount referenced in paragraph 4.1 above shall be paid

                 to the Plaintiff and Loevy & Loevy within ninety (90) days of the Parties’

                 execution of this Agreement.

          4.3    The   Settlement     Amount        referenced     in paragraph    4.1   above     shall be

                 allocated by the Plaintiff as follows:             First, $3,000,000       (three million

                 dollars)     shall   be    allocated     toward     Plaintiff's   injury     of    pretrial

                 incarceration flowing from his Fourth Amendment malicious prosecution

                 claim (damages suffered as the result of pretrial incarceration from the

                 time of a judicial finding of probable cause to the start of the Plaintiffs

                 criminal trial). Second, $100,000 (one-hundred thousand dollars) shall be

                 allocated to 42 U.S.C. 1988 fees and costs incurred by the Plaintiff and

                 his attorneys, Loevy        & Loevy,      solely in pursuit of claims against the

                 County Defendants and which did not advance the claims against the City

                 Defendants.

          4.4    Regardless      of how     the    Settlement    Amount     is allocated      pursuant    to

                 paragraph 4.3 above, the Parties agree that payment of the Settlement

                 Amount is intended to fully and completely resolve and release any and

                 all claims that the Plaintiff has, or may have had, against the County

                 Defendants, as set forth more fully in paragraph 7 of this Agreement.

          4.5    If the allocation set out in paragraph 4.3 above is not approved by the

                 Court or is for any reason held to be invalid, unenforceable, or contrary to

                 any public policy, law, statute, regulation, or ordinance, then paragraph

                 4.3   shall be void       and the remainder        of the Agreement         shall not be

                 affected thereby and shall remain valid and fully enforceable.


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 5.   The Settlement Amount represents the entire amount of the compromise settlement, and

      the respective Parties will each bear their own costs, fees, and expenses.

6.    This Agreement             is not and      shall not be construed         as an admission         by the County

      Defendants of the truth of any allegation or the validity of any claim asserted in this

      lawsuit or of the County Defendant’s liability. Furthermore, none of the terms of the

      Agreement may be offered or received in evidence or in any way referred to in any civil,

      criminal, or administrative               action or proceeding        other than proceedings            that may    be

      necessary to consummate or enforce this Agreement, except for the proceeding described

      in Paragraph 13, below.

7.    Plaintiff for himself, his heirs and personal representatives, fully and forever releases,

      acquits and discharges the County Defendants, any county agents or indemnitees, and any

      of their current or former employees,                   agents, or assigns whether in their official or

      individual capacities from any and all actions, suits, debts, sums of money, accounts and

      all claims and demands of whatever nature, in law or in equity, including but not limited

      to any       and all claims        for Constitutional,        federal law or state law violations against

      Plaintiff,        and/or   any   taken,    damaged,     disposed      of, or destroyed       property,      and    any

      attorney’s fees and costs accrued arising out of the Lawsuit, or any claim or suit which

      he, his heirs, assigns and legal representatives, may heretofore or hereafter have had by

      reason       of    said    allegations,    including,   but     not   limited   to,   any   and   all    claims    for

      Constitutional violations, federal or state law claims, injunctive relief claims, and/or any

      taken, damaged,            disposed of, or destroyed property claims, as well as any other such

      claims against the County Defendants, or any current or former employees                                   or agents

      thereof, that may have been brought in connection with Plaintiff's arrest or prosecution or
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      any incident involving the County Defendants at any point prior to the execution date of

      this Agreement by the Parties. This is a general release.

      Plaintiff represents and warrants that he is the sole and lawful owner of all rights, title,

      and interests in and to every claim and other matter which he purports to release herein,

      and that he has not heretofore assigned or transferred, or purported or attempted to assign

      or transfer to any person or entity any claims or other matters herein released. Plaintiff

      shall indemnify the County Defendants, any county agents or indemnitees, and any of

      their   current   or former       employees,         agents,   or assigns   whether        in their     official   or

      individual capacities, against, and defend and hold harmless from, any claims arising out

      of or relating to any such assignment or transfer of any claims or other matters released

      herein. Any fees and costs related to the filing or bringing of this Lawsuit are solely the

      responsibility of Plaintiff.

      Compliance with all applicable federal, state, and local tax requirements shall be the sole

      responsibility of Plaintiff. The Parties hereto acknowledge and agree, however, that this

      settlement is intended to compensate                  Plaintiff for constitutional     claims     for wrongful

      incarceration within the meaning of 26 U.S.C. § 139F, and/or personal physical injuries

      or physical sickness within the meaning of 26 U.S.C. § 104(a), and not for lost wages,

      profits, or other income arising out of or relating to the Lawsuit. Notwithstanding the

      foregoing, such claims arising out of or relating to the Lawsuit are fully and completely

      released hereby.

10.   This settlement is based upon a good faith determination of the Parties to resolve a

      disputed claim.

11.   This    Agreement        contains     the        entire    agreement   between       the     Parties.      Plaintiff

      acknowledges       and   agrees     that    no     promise     or representation     not     contained      in this


                                                            4.
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        agreement      has     been      made    to him,    and    he    acknowledges         and     represents        that    this

        Agreement contains the entire understanding between the Parties, and contains all terms

        and conditions pertaining to the compromise and settlement of the disputes referenced

        herein. No      statement, remark,        agreement,      or understanding,          oral or written, that is not

        contained herein shall be recognized or enforced, nor does this Agreement reflect any

        agreed   upon      purpose       other than the desire          of the Parties to reach a full and                     final

        conclusion of the litigation without further expense.

12.     Plaintiff agrees to dismiss with prejudice and without fees and without costs any and all

        claims   against       the    County     Defendants       arising    out    of the    Lawsuit.         The     Plaintiff's

        voluntary     dismissal of the County              Defendants       is in consideration for the Settlement

        Amount paid on behalf of the County Defendants in this case.                             The County Defendants

        will bear their own costs, fees, and expenses.

      . Within   10 (ten) days of signing of this Agreement, Plaintiff shall cause to be filed a

        motion for good-faith finding with respect to this Agreement in the Lawsuit.

14.     If the Court finds that the Agreement was entered into by the Parties in good faith, within

        7 (seven) days of such finding the Plaintiff will cause to be filed with the Court a

        Stipulation     to Dismiss         The   County     Defendants       With      Prejudice      and      Without     Costs,

        pursuant to Rule 4 I(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

15.     This Agreement          cannot be modified or amended                  except by an instrument in writing,

        agreed to and signed by the Parties, nor shall any provision hereof be waived other than

        by a written waiver, signed by the Parties.

16.     This Agreement          shall be binding       upon and inure to the benefit of Plaintiff, County

        Defendants,      and     their    respective   heirs,     executors,       successors,      assigns,     and     personal
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        representatives, including any person, entity, department, or agency succeeding to the

        interests or obligations of any party hereto, or having an interest herein.

  17.   The provisions     of this Agreement     shall be deemed            severable,      and any          invalidity        or

        unenforceability of any one or more of its provisions shall not affect the validity or

        enforceability of the other provisions herein.

  18.   This Agreement may be executed in multiple counterparts, each of which when combined

        will form one and the same documents.

  19.   Plaintiff acknowledges      that he    reviewed      this   document          and   acknowledges                  that he

        understands the contents thereof and has executed this Agreement of his own free act and

        deed. The undersigned represent that they are fully authorized to enter into and bind the

        Parties to this Agreement. Plaintiff further represents and warrants that he has not sold,

        assigned, or otherwise transferred any claims that are the subject of the releases set forth

        in this Agreement.

 IN WITNESS          THEREOF,     the Parties have executed this Settlement Agreement and General

 Release effective this 30         _dayof 09     _ , 2024.

AGREED         TO AND ACCEPTED BY:

        For Plaintiff:                                                For Cook County:
                                                                     Lyle    K.              Newey           by Lyle K.


        John    Martinez   Nn   NetAny                               Henretty                Date: 2024.10.04 13:35:24
                                   LJ                                             7
